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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF GEORGIA
                        COLUMBUS DIVISION

H & L FARMS, LLC;               *
SHAUN HARRIS and AMIE HARRIS,   *
                                *
     Plaintiffs,                *
                                *                  CIVIL ACTION FILE
v.                              *
                                *                  NO. 4:21-CV-00134-CDL
SILICON RANCH CORPORATION;      *
SR LUMPKIN, LLC; INFRASTRUCTURE *
AND ENERGY ALTERNATIVES, INC.; *
IEA CONSTRUCTORS, LLC; and,     *
WESTWOOD PROFESSIONAL           *
SERVICES, INC.,                 *
                                *
     Defendants.                *


       PLAINTIFFS’ RESPONSE TO THE “MOTION TO AMEND
       SCHEDULING ORDER” FILED BY THE SILICON RANCH
      CORPORATION DEFENDANTS AND THE IEA DEFENDANTS

    1. INTRODUCTION

      SRC & IEA1 have been angling for delay since they were served with

Plaintiffs’ Complaint. See, e.g., Doc. 27 (10/18/21 Scheduling Order - defendants’

positions). There’s a reason for that: they knew then they had no defense. As

described by one of the consultants (One Environmental) - whom SRC & IEA



1
 SRC & IEA have been defending this case jointly, pursuant to a joint defense
agreement and, apparently, indemnity agreements. Those two defendants jointly
named shared expert witnesses on December 30, 2021.
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themselves hired to inspect the site but then concealed from Plaintiffs in discovery

- the SRC development was a “muddy mess” well before Plaintiffs were finally

forced to file suit. PX2 67.3

      The SRC development site is still a muddy mess – more than a year after the

damage to Mr. and Mrs. Harris and their property began on April 1, 2021. See PX

174 (May 27, 2022 photo by Shaun Harris).

      The damage to Mr. and Mrs. Harris and their property will continue. In a

stunning confession one of the two “testifying experts” hired by SRC & IEA

counsel (in contrast to the consultants SRC & IEA themselves had hired but did

not identify as expert witnesses, e.g. One Environmental and Westwood) testified

on May 31, 2022 that conditions are so bad at the SRC site before it can ever be

stabilized and restored4 an all-new erosion and sediment control plan has to be


2
  “PX” means Plaintiffs’ Exhibit. Plaintiffs have been numbering their exhibits for
use at trial as those exhibits are used, or prepared for use, in depositions taken for
use at trial. All “PXs” used herein are attached hereto.
3
  One Environmental conducted weekly inspections for four months from early
July 2021 through October 2021. The mess never improved; most of the failures
of the erosion and control measures they identified remained unabated for most of
those eighteen weeks. SRC & IEA never revealed the fact One Environmental did
those inspections and reports, and never produced the documents; Plaintiffs found
out on their own, and subpoenaed the documents from One Environmental.
4
  According to the erosion and sediment control design plan which bears the
corporate logos of IEA, Inc. and Westwood, the “restoration” phase was supposed
to be “complete” by March 18, 2022. PX 27 at p. 2 (“6.7 Project Activity
Schedule”). The SRC/IEA “testifying expert” Erin Harris confessed on May 31,
2022 that the site does not have enough vegetation on it to “call it fully stabilized”
and she cannot say when it ever will be fully stabilized. Exh. 1 - Erin Harris Dep.
                                             2
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created. Exh. 1 - Erin Harris Dep. Excerpt, 16/25-17/21, 317/1-24. 5 Her firm,

Nutter, has not been asked to do such a redesign. Id. at 292/17-293/7. Whether

Nutter has suggested to SRC & IEA counsel that such a total redesign be done, she

refused to answer. Id. at 293/22-294/23. Neither SRC nor IEA has disclosed any

such redesign, or identified a witness who has done such a redesign (both SRC and

IEA have their own engineering departments).

      On June 9, 2022, the Silicon Ranch (“SRC”) and IEA, Inc. (“IEA”)

defendants filed their motion to delay this case. At that time there were eight

business days left within the already-extended discovery period, set to expire on

June 21.6 At that time this case had been pending for nine months.




Excerpt, 289/8-15, 290/16-19. She also testified that neither SRC nor IEA has told
her when they believe the site will be fully stabilized. Id. at 291/9-17.
5
  Plaintiffs’ experts agree that the site is so bad an entirely new erosion and
sediment control plan has to be created before the damage will ever stop, because
the disaster that is the SRC Lumpkin site cannot be fixed with the original design
plan that SRC and IEA willfully failed to follow. (Plaintiffs’ expert John Britt, a
registered forester and formerly Lead Forester for Mead Corporation, who was
retained to rebut the assertion by SRC & IEA defense counsel that logging on the
SRC property caused damage to the Harris property, stated this in his Expert
Report: “The Silicon Ranch site is the second worst environmental disaster I have
ever personally seen, only behind the results of open roasting sulfur laden copper
ore in the Copper Basin of southeastern Tennessee.” Britt 11/30/21 Expert Report
at 3.)
6
  SRC & IEA first asked Plaintiffs and defendant Westwood to consent to a
discovery extension by email at 4:32 p.m. on June 8. Plaintiffs’ counsel declined
by email the next morning, at 9:37 a.m.; counsel for Westwood also declined that
next morning at 10:05 a.m.
                                              3
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      Discovery was originally scheduled to expire March 7, 2022. Doc. 27 at 9.

Defendants had sought an “extended discovery track” with discovery to end July 7,

2022. Id. at 8. Plaintiffs were compelled to agree to extend discovery because

neither SRC nor IEA had made any meaningful response to Plaintiffs’ written

discovery (interrogatories or requests for documents). On January 28, 2022 the

Court granted a consent motion to extend discovery until June 21, 2022. Doc. 32.

At that point in time, SRC & IEA had taken no depositions – although the case had

been pending for almost six months and Plaintiffs’ had served their expert reports

two months previously.

      The SRC/IEA motion is based on two core premises: (1) that there are a lot

of depositions to be taken, and (2) that IEA counsel have to try a case in federal

court in West Virginia starting June 28, 2022. Plaintiffs will address those in

order. Plaintiffs will then address incorrect statements made in the SRC/IEA

motion to delay this case. But first, the applicable law.

      2.     THE LAW

      Plaintiffs’ counsel do not presume a need to suggest to this Court what the

law is, but this law section is submitted nonetheless.

      This Court is “under no obligation to extend a discovery deadline.” K.J.C. by

& through Pettaway v. City of Montgomery, 2019 WL 4941105, at *5 (M.D. Ala.

Oct. 7, 2019). This Court’s first Order in this case warned that “[m]ultiple requests

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for extensions of the discovery period are strongly discouraged and will rarely be

granted absent exceptional circumstances.” Doc. 17 at 5.

       “Federal Rule of Civil Procedure 16(b)(4) provides that

a scheduling order may be modified only for good cause. ‘Good cause’ means that

due to unforeseeable circumstances, the party seeking the amendment to

the scheduling order could not have met the existing deadline despite the exercise

of reasonable diligence.” Andritz, Inc. v. S. Maint. Contractor, LLC, 2010 WL

11530352, at *1 (M.D. Ga. Mar. 5, 2010) (Land, J.). See Stephens v. Alltran Fin.,

LP, 325 F.R.D. 711, 712 (N.D. Ga. 2018) (“[T]he moving party cannot establish

the diligence necessary to show good cause ... if the party failed to seek the needed

information before the deadline;” “Defendant simply miscalculated in assuming

the case would settle, and failed to diligently pursue discovery before the discovery

period was set to close.”).

       Whether to grant another discovery extension is discretionary: “[W]e have

often held that a district court's decision to hold litigants to the clear terms of its

scheduling orders is not an abuse of discretion.” Josendis v. Wall to Wall

Residence Repairs, Inc., 662 F.3d 1292, 1307 (11th Cir.2011). See Thurmond v.

Bayer Healthcare Pharms., Inc., 649 F. App'x 1003, 1005 (11th Cir. 2016) (not an

abuse of discretion to deny a second discovery extension).




                                            5
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      3.        THE TAKING OF DEPOSITIONS IN THE HARRIS CASE

      The Record is quite clear.

      SRC & IEA did not request that any depositions be scheduled until January

11, 2022 – after this case had been pending for five months, and less than two

months before discovery expired according to the Court’s initial Scheduling Order.

Doc. 27 at 9.

      On the same day defense counsel first requested depositions, Plaintiffs’

counsel told counsel for SRC & IEA that Plaintiffs would make Mr. and Mrs.

Harris and all of Plaintiffs’ experts available for deposition, and to facilitate

scheduling same, requested that all defense counsel confer and provide dates when

all defendants were available for such depositions, because the deponents’

calendars would be much more manageable than the calendars of busy defense

counsel.7 See Exh. 2 – Plaintiffs’ counsel 1/11/22 email to all defense counsel.

      Counsel for SRC & IEA declined to ever do that. 8



7
  Only two of Plaintiffs’ experts have much deposition experience (Robert Behar,
CPA, and Brian Wellington, Ph.D., P.E.). Some have never been deposed. (John
Britt – never deposed; Les Ager - no testimony in past 4 years; Erin Bouthillier –
no testimony in past 4 years; Stacy Mote – no testimony in past 4 years; Lee
Walters – never deposed; Vance Smith – no testimony in past 4 years; Shaun
Harris – deposed once for 10 minutes in another’s divorce case.)
8
  On January 14, 2022, and again on January 18, and again on January 27,
Plaintiffs’ counsel repeated that January 11 request for dates when a lawyer for
each defendant would be available to depose Plaintiffs’ experts so those
depositions could be scheduled. Counsel for SRC and IEA never responded. See
                                          6
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      So, Plaintiffs’ counsel took it upon themselves to find as many dates as

possible when Plaintiffs’ experts could be made available. On March 17, 2022

Plaintiffs’ counsel provided to SRC & IEA a total of 89 dates in March and April

when depositions of nine Plaintiffs’ experts could be taken. Exh. 3 – Plaintiffs’

counsel 3/17/22 email to defense counsel.

      SRC & IEA then actually accepted dates for and took the depositions of only

three of Plaintiffs’ experts (Zeller, Behar, Mote).9

      Two months after Plaintiffs had offered dates for all Plaintiffs’ experts but

SRC & IEA had deposed only three of them, on May 19, 2022 IEA, apparently on

behalf of itself and SRC, sent twelve pleadings they called “notices of deposition”

– seven to Plaintiffs and five to Westwood. The “notices” named the remaining

Plaintiffs’ experts SRC & IEA had elected not to depose in the 5 ½ months since

the experts were identified and elected not to depose on any of the multiple dates

offered by Plaintiffs on March 17, 2022. The notices also named five Westwood

witnesses whom SRC & IEA had never previously asked to depose. The things

sent by SRC & IEA were not valid notices of depositions under Rule 30: they did




Exh. 6 – March 1, 2022 letter from Plaintiffs’ counsel to counsel for SRC and IEA,
pp. 8-10.
9
  Plaintiffs initially named 10 experts on November 30, 2021; one of them was
subsequently withdrawn.
                                           7
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not designate a date, time, or place for any of the depositions, which is required by

Rule 30(b)(1).

      Nonetheless Plaintiffs’ counsel promptly provided dates for the depositions

of the six Plaintiffs’ experts requested by SRC & IEA. See Exh. 4 – Plaintiffs’

counsel’s 5/25-26/22 emails to SRC/IEA counsel. Counsel for Westwood likewise

promptly provided dates for the depositions of the five Westwood witnesses

requested by SRC & IEA for the first time. That was not easy: counsel for SRC &

IEA also stated they had vacations planned so, of all the business days then left

before discovery expired on June 21 only nine days remained for the requested 11

depositions, and on four of those days, depositions or a requested site visit to the

Harris property were already scheduled.

      Counsel for SRC & IEA then elected to actually schedule only two of the

depositions they had asked Plaintiffs’ counsel to schedule.10 Counsel for SRC &


10
   One of those depositions SRC & IEA elected to actually schedule was Plaintiffs’
expert John Britt. On March 17 Plaintiffs’ counsel and Mr. Britt had offered to
SRC & IEA 22 dates on which to take Mr. Britt’s deposition in March and April.
SRC & IEA chose none of them. On May 25 Plaintiffs’ counsel and Mr. Britt
offered another six dates for his deposition. SRC & IEA counsel selected Friday,
June 10. On June 1, IEA counsel sent an amended notice of deposition for Mr.
Britt, setting the date for June 10, the time for 11 a.m., and the place at Butler
Prather’s Columbus office. Plaintiffs’ lead counsel traveled from Savannah to
Columbus for that deposition. On the afternoon of June 9, IEA counsel Keith
Kodosky emailed that the deposition would be taken by Zoom. He later admitted
that was for his convenience. But IEA counsel failed to line up a court reporter to
attend the deposition or to provide equipment for a zoom deposition. Plaintiffs’
counsel declined to agree to a court reporter taking oral sworn testimony remotely.
                                            8
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IEA elected to schedule none of the depositions they had asked Westwood counsel

to schedule.

      In summary, the failure by SRC & IEA to take supposedly ‘needed’

depositions is entirely of their making, and was quite purposeful: Plaintiffs’

counsel have been stating on the record for some time that those defendants were

‘angling’ for yet another discovery extension. Plaintiffs’ counsel have some

experience, and it simply a fact – which will be proven at trial, if not before – that

SRC & IEA have no defense, so delay is their only option. By contrast, Plaintiffs

will, by the end of the day Friday, June 17, have taken all the depositions they

sought – although getting there has been an arduous undertaking; this case has

been afflicted by an incredible amount of email traffic that should not have been

necessary. Plaintiffs have taken seven depositions – all for use at trial, on

videotape. SRC & IEA have taken six depositions – every single one they both

requested and scheduled.

      4.       THE WEST VIRGINIA CASE

      In addition to the claimed ‘need’ to take more depositions, SRC & IEA

represented to this Court that delay was necessary because of:

      “the fact that lead counsel for the IEAC Defendants and the entire IEAC

      litigation team has a specially set trial in the Southern District of West

      Virginia beginning June 28, 2022, which is anticipated to last four to six

                                           9
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      weeks. This trial had been anticipated for later in the year at the time of the

      last extension but was set for July without warning.”

Doc. 49 at 3-4 (emphasis added). The apparent point of referring to that trial is

presumably that “the entire IEAC litigation team” for this case has been and will

be distracted by that imminent trial, even though it does not commence until after

discovery is set to close in this case on June 21.

      In fact, the June 28, 2022 trial in the West Virginia case was set by the Court

there on October 22, 2021. Exh. 5 – Order, Courtland v. Union Carbide, Doc. 305.

A motion to delay that trial was filed, which was denied on February 18, 2022.

Exh. 7 – Order, Doc. 341.

      With regard to the representation that “the entire IEAC litigation team has

[that] specially set trial,” that representation is not supported by the docket in the

West Virginia Court. The IEA/IEAC “litigation team” in the Harris case consists

of Martin Shelton, Keith Kodosky, and Ryan Wilhelm of the Lewis Brisbois

Atlanta office. Doc. 49 at 5. The docket for the West Virginia case shows that

only Mr. Shelton is counsel for defendant Union Carbide in that case.11


11
  For examples: The most recent filing on behalf of Union Carbide (May 27,
2022) is signed first by two Lewis Brisbois lawyers from that firm’s Charleston
West Virginia office, and then by Martin Shelton, of the Lewis Brisbois office in
Atlanta. Neither of the other two Atlanta-based Lewis Brisbois lawyers (Kodosky
and Wilhelm) who are working on this case are listed as counsel for defendant
Union Carbide. See Exh. 8 – Courtland v. Union Carbide Doc. 471 (the certificate
of service is signed by the two West Virginia lawyers from Lewis Brisbois). The
                                        10
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      5.     RESPONSE TO INCORRECT STATEMENTS IN THE
             SRC/IEA MOTION TO DELAY THIS CASE.

      A. The Course of Discovery

      The motion filed by SRC & IEA commences with this statement: “The

parties have been diligently working to complete discovery in this matter including

the exchange of written discovery and document productions.” Doc. 49 at 2.

Plaintiffs could not disagree more. Plaintiffs have done that; SRC & IEA have not.

      Take the subject of depositions, for example. As detailed above, SRC &

IEA sought no depositions in the five months after this case was filed; failed to

seek depositions after Plaintiffs’ counsel offered up everyone on January 11, 2022,

failed to take but three depositions on the 89 dates Plaintiffs’ counsel offered on

March 17 for all of Plaintiffs’ experts, then failed to depose but one of the

Plaintiffs’ experts12 despite Plaintiffs’ counsel offering dates for them all once

again on May 25.

      As to written discovery, as Plaintiffs have previously informed this Court,

Plaintiffs have attempted to avoid the costly, delaying ‘motions war’ that so often

afflicts litigation. That is mostly because the damage continues, any and every


“District Court Daybook Entry” for the pretrial conference shows that it was
attended, on June 3, 2022, by Mr. Shelton but not by either of the other two
Atlanta-based Lewis Brisbois lawyers who represent IEA/IEAC in this case. Exh. 9
- Doc. 480 (filed 06/03/22).
12
   That one is Plaintiffs’ expert Brian Wellington, Ph.D., P.E., who is scheduled to
be deposed on June 15 in Atlanta.
                                         11
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time it rains in Stewart County Georgia. But in part, to be frank, that is because

the evidence against SRC & IEA is so abundant there is little need to engage in a

‘motions war.’ Production of documents from SRC & IEA has been sparse – and

delayed. Responses to the factual averments in the Complaint were almost

completely non-existent. Responses to interrogatories have been useless.

      Most of the decisive evidence Plaintiffs have managed to obtain has come

not from SRC & IEA but from Plaintiffs’ own independent efforts including

subpoenas for documents issued to six third parties.

      The evidence most damaging to SRC & IEA has come from consultants

those corporations hired (as contrasted to the “testifying experts” identified jointly

by SRC & IEA on December 30, 2021, who were hired by defense counsel) but did

not disclose to Plaintiffs.

      For example, IEA hired an engineering firm named One Environmental Mid

Atlantic LLC to conduct regular weekly inspections of the erosion and the erosion

and sediment controls at the SRC development site. One Environmental did that

for four months. SRC & IEA did not disclose those facts or any One

Environmental documents; Plaintiffs obtained the evidence from One

Environmental pursuant to subpoena. SRC & IEA did not name anyone from One

Environmental as an expert witness.




                                          12
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      For further example, SRC sought to hire a nationwide engineering firm,

S&ME, Inc., to try to come up with something “defendable,” to quote one email

between that firm and an SRC executive – which email Plaintiffs obtained pursuant

to a subpoena to S&ME. For reasons that will be explained later, it appears SRC

decided not to pay S&ME for the services contemplated by the S&ME proposal.

SRC & IEA did not name anyone from S&ME as an expert witness.

      For further example, IEA and its “testifying experts” at Nutter & Associates

hired Southern Hydro Vac LLC to come on to the SRC development site and

actually pressure wash the banks of the creek that led on to the Harris property and

vacuum up sediment which, according to the IEA/Westwood design plan, was not

supposed to erode from the SRC site. See PX 21 (note 5: “The escape of sediment

from the site shall be prevented . . .” (emphasis added)). Neither SRC nor IEA

disclosed the work done by Southern HydroVac – Plaintiffs discovered that on

their own, and got the documents by subpoena to Southern HydroVac.

      Plaintiffs also obtained documents from American Forestry Management,

which was the forestry consultant for Kawikee Two LLC, who supervised the

logging on the SRC property after it was acquired by SRC pursuant to the

agreement with Kawikee Two LLC (rather than pay more per acre, SRC suggested

that Kawikee Two LLC take the timber; see Doc. 44 at ¶13 (Joel Wooten Aff.)).

Those documents proved, contrary to the argument advanced by counsel for SRC

                                         13
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& IEA which is supported by no evidence at all, that no one from SRC or IEA and

no one else ever complained or suggested that the logging caused erosion that

caused damage to the Harris property. Id. at ¶28.13

      B. Supplemental Reports

      In footnote 1 to the SRC/IEA motion defense counsel stated “Robert Behar

and Stacy Mote recently have produced new reports and now they likely need to be

re-deposed.” Doc. 49 at n.1 (emphasis added). That is incorrect. But some

explication is appropriate, as the Court will certainly hear more from SRC & IEA

about supplemental reports when they reply to this response to their motion.

      First, as to Mr. Behar, he produced a supplemental report after his deposition

only because SRC & IEA both flatly refused to produce any evidence of their

financial circumstances, despite the fact punitive damages are sought and seem

near-certain to be imposed given the evidence in this case.14 Consequently Mr.

Behar had to construct the financial circumstances of SRC & IEA from publicly

available documents, which is to say, documents equally available to SRC & IEA.

That is what he did, in his supplemental report.


13
   That baseless argument – that maybe the logging done by Kawikee Two LLC
caused some of the damage to the Harris property – is the basis for the insistence
by SRC & IEA counsel to depose Mr. Wooten, and to also depose Mr. Butler.
14
   SRC & IEA have asserted that before they have to produce financial
circumstances information, Plaintiffs must prove a “prima facie” case for punitive
damages, which means, of course, file a motion with the Court. Asked for legal
authority for that assertion, defense counsel have failed to provide any.
                                          14
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      At the deposition of Mr. Behar on April 29, Counsel for SRC & IEA elected

not to ask him about his opinions or his work in getting that publicly available

information about the financial circumstances of SRC & IEA.15

      Second, as to Ms. Mote, the supplemental report she filed on behalf of

herself and her business partner at Consolidated Resources LLC, Erin Bouthillier,

merely discussed, and stated she would rely upon to support the opinions in their

initial expert report, documents from two sources: (1) the One Environmental

inspections of the SRC site, done for four months from July through October 2021,

which documents neither SRC nor IEA ever produced to Plaintiffs in discovery but

which Plaintiffs obtained in January 2022 – after the deadline for initial reports

from Plaintiffs’ experts of November 30, 2021; and (2) IEA’s own March 10, 2022

inspection report of the SRC site, with hundreds of photographs – documents


15
  That election was astounding – especially since SRC counsel hinted to IEA
counsel, who was taking the deposition, that he should ask Mr. Behar about his
opinions:
MR. BUTLER: Well, he's here, we're here. You scheduled this deposition and
you've elected not to ask him about what opinions he has. So, the deposition is
concluded.
MS. LeJEUNE (SRC counsel): I don't think Martin [Shelton, IEA counsel] said he
had no further questions.
MR. BUTLER: Do you have any further questions?
MR. SHELTON: Actually, I don't have any further questions.
MS. LeJEUNE: Okay.
MR. BUTLER: Do you, Ms. LeJeune?
MS. LeJEUNE: No.
MR. BUTLER: All right, then we're done.
Behar 4/29/22 Dep. at 24/14-25/1.
                                        15
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which are devastating to SRC and IEA because they show the site is still mostly

bare ground, not close to being stabilized and “restored,” in violation of the

IEA/Westwood design plan which required restoration by March 18, 2022. PX 27

at p.2 (“6.7 Project Activity Schedule”).

      Third, supplemental reports have also been served for Plaintiffs’ experts

Vance Smith, John Britt, Les Ager, and Brian Wellington. All discuss the same

things, documents Plaintiffs did not have when the initial expert reports were due

and were served on November 30, 2021 – the One Environmental inspection

reports and IEA’s own March 10, 2022 inspection report of the SRC site – and

state that the expert intends to rely on those documents to support the opinions

already stated in the expert’s initial expert report.

      C.     The claim by SRC & IEA that they can depose a witness more
             than once.


      The SRC/IEA motion states that they deposed “two non-party Rule 30(b)(6)

deponents (from Kawikee Refuge, LLC and Kawikee Two, LLC).” Doc. 49 at 2

(emphasis added). That is untrue. They took the deposition of one “deponent” –

Joel Wooten, both in his individual capacity (he was subpoenaed as an individual)

and in his capacity as the manager of the two LLCs. Both SRC & IEA counsel

consented that with Mr. Wooten sitting there and available to be deposed

individually and as the representative of both LLCs, one deposition was

                                            16
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appropriate.16 That observation is important, because that consent came,

remarkably enough, the day after SRC & IEA had filed a motion to compel and for

sanctions insisting that they were entitled to take two separate depositions of

Plaintiff Shaun Harris on two separate days – one as an individual and one as the

manager of the LLC he and his wife own, H&L Farms LLC. Then, the very next

morning at the commencement of the deposition of Mr. Wooten, those lawyers

abandoned that argument.17

      D. SRC/IEA’s stated intent to take multiple depositions the last two
         days of the discovery period.




16
   From the deposition transcript:
        MR. SHELTON: This is the deposition of Joel Wooten, individually, as far
        as for [sic] Kawikee Refuge, LLC and Kawikee Two, LLC, taken pursuant
        to subpoena and notice in the matter of H&L Farms, et. al. versus Silicon
        Ranch Corporation, et. al.
Wooten 5/25/22 Dep. at 9/19-24.
        MR. BUTLER: [Mr. Wooten] is also here on behalf – in response to the two
        30(b)(6) Notices of Depositions served upon me, which were directed to
        Kawikee Refuge, LLC and Kawikee Two, LLC. Those Notices of
        Depositions are invalid because they violate Rule 30. But we agree that this
        is the time and place to take Mr. Wooten's deposition pursuant to Notice of
        Depositions to Kawikee Refuge, LLC, and Kawikee II, LLC.
        MR. SHELTON: Okay.
Id. at 10/14-25.
17
   Asked for authority for their contention they had a right to depose Mr. Harris
twice on two separate days, defense counsel have offered none – and have stated
none in the motion to compel and for sanctions which they filed.
                                           17
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       The SRC/IEA motion states that “IEAC intends to take the deposition of

defendant Westwood and of non-parties American Forest Management, Interfor

U.S. Inc., and Wayback Forestry, Inc. . . .”

       First, neither SRC nor IEA has made any request – ever – “to take the

deposition of defendant Westwood.” Counsel for SRC & IEA did decline to

accept any of the dates offered for depositions of five Westwood witnesses after

SRC & IEA first mentioned taking those depositions on May 19, with their not-a-

notice “notices of depositions” (no date, time, or place stated, as required by Rule

30).

       Second, the depositions “of non-parties American Forest Management,

Interfor U.S. Inc., and Wayback Forestry, Inc.” were never mentioned by SRC &

IEA until they sent notices on Friday, June 3, 2022, at 6:06 p.m. to take those

depositions on the last two days of discovery, June 20 and 21 – without any effort

to coordinate dates/times/places with either the witnesses or Plaintiffs’ counsel or

Westwood counsel. (See Local Rules/Standards of Conduct/5. Depositions (b),

(c).) That was nine months after this lawsuit was filed – and SRC & IEA well

knew who those “non-parties” were: both SRC & IEA had communicated

repeatedly with employees of those “non-parties” while the logging was underway

on the property owned or SRC in late 2020 and January and February 2021, in the

presence of both SRC and IEA.

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      E. The SRC/IEA accusation against Plaintiffs’ counsel.

      SRC & IEA state in their motion that “Plaintiffs have also unilaterally

scheduled several depositions of third parties without coordinating with

Defendants to determine if counsel is available.” Doc. 49 at 3. That requires some

unpacking. The details recited above should establish that Plaintiffs’ counsel have

indeed worked very diligently to ‘coordinate’ with SRC & IEA counsel about

depositions. Every single deposition those counsel have sought has been

scheduled – and dozens of dates have been offered for depositions those counsel

said they wanted but elected not to take. That takes a lot of work and coordination,

with the witnesses, in particular. With discovery closing and SRC & IEA refusing

to stipulate to the admissibility of the One Environmental documents and the

S&ME documents – documents mind you that SRC & IEA had concealed –

Plaintiffs’ counsel did schedule two depositions, of representatives of each to

authenticate the documents to make sure SRC & IEA could not try to have them

excluded from evidence. That purpose for the depositions was told to counsel for

SRC & IEA – a detail they fail to mention in their motion. Plaintiffs did not even

know about the fact SRC had consulted with S&ME until May 2 when SRC

belatedly produced some documents which instructed Plaintiffs of the need to

subpoena documents from S&ME, which Plaintiffs did not get until June 2. Those




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two authentication depositions are set to be taken in Atlanta, which is obviously

convenient for the Atlanta-based SRC & IEA counsel.

      F. SRC & IEA’s violation of Rule 30.

      SRC & IEA close their motion by claiming they “only seek to extend

discovery deadlines to provide for the depositions of witnesses for whom notice

has been given at the time of filing.” Doc. 49 at 4. Which “witnesses” are those?

SRC & IEA don’t say. Why not? Because the answer is: zero. The only witness

whose deposition has actually been properly noticed by SRC or IEA and not yet

taken is Dr. Brian Wellington, whose deposition is set for June 15 in Atlanta. The

SRC/IEA motion is all a charade - those two defendants, having failed to be

“diligent” at all and having eschewed multiple opportunities to depose whoever

they wanted – were angling for another discovery extension all along.

                                  CONCLUSION

      Plaintiffs pray that this Court not give them one. Plaintiffs respectfully ask

that the Court deny the motion, and earnestly hope for a trial date in Fall, 2022.

      If the extension is granted, there is no doubt what will come next: a motion

by SRC & IEA to name new expert witnesses, because their “testifying experts”

were not merely rendered un-useable in their depositions, but gave testimony

damaging to SRC & IEA.




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Respectfully submitted, this 10th of June, 2022.


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                            ATTORNEYS FOR PLAINTIFFS




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                         CERTIFICATE OF SERVICE


      I certify that, on June 10, 2022, I filed the foregoing PLAINTIFFS’

RESPONSE TO THE “MOTION TO AMEND SCHEDULING ORDER” FILED

BY THE SILICON RANCH CORPORATION DEFENDANTS AND THE IEA

DEFENDANTS with the Clerk of Court using the CM/ECF system, which will

automatically notify counsel of record.


                                               /s/ James E. Butler, Jr.




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